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                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


       Baby Doe et al.,

                     Plaintiffs,
                                                              Civil Action No. 3: 22-cv-49
       v.

       JOSHUA MAST et al.,

                     Defendants,
       and

       UNITED STATES SECRETARY OF STATE
       ANTONY BLINKEN et al.,

                   Nominal Defendants.


                                     PROPOSED ORDER

             Having considered Nominal Defendants’ April 17, 2023 Motion to Seal, and for

      good cause shown, and the requirements of Local Civil Rule 9(b) having been met, it

      is hereby ORDERED that Nominal Defendants’ Motion is granted. It is further

      ORDERED that Nominal Defendants’ Memorandum in Support of their Motion for

      Protective Order, as well as Exhibit A and B to that Memorandum, are filed under seal.

             SO ORDERED.

             Dated: ___________                         ___________________
                                                        Joel C. Hoppe
                                                        United States Magistrate Judge
